              Case 2:16-cr-00025-TLN Document 119 Filed 05/02/17 Page 1 of 5


 1   LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
 2
     455 Capitol Mall, Suite 802
 3   Sacramento, California 95814
     (916) 504-3933
 4   toddleras@gmail.com
     Attorney for Defendant
 5
     PEDRO FUENTES
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:16-CR-025-TLN
12
                    Plaintiff,
13
     vs.                               STIPULATION AND ORDER
14                                     CONTINUING STATUS CONFERENCE

15
     VICENTE VELAZQUEZ, PEDRO FUENTES, AND EXCLUDING TIME UNDER THE
     LUIS ALBERTO FERNANDEZ            SPEEDY TRIAL ACT
16   CONTRERAS, LEONEL VILLA LOPEZ,
     ROBERTO AGUILAR NAVARRO, and                      Date:      July 20, 2017
17   EDWIN ARAMBULO,                                   Time:       9:30 a.m.
                                                       Court:     Hon. Troy L. Nunley
18
                    Defendants.
19

20

21

22
            This matter is presently set for a status conference on May 4, 2017. The case involves
23
     allegations of distribution of controlled substances stemming from several rounds of court-
24

25   authorized wiretaps. The government provided an initial disclosure to defense counsel of

26   voluminous reports, tapes and transcripts in the English and Spanish languages. The government
27
     ORDER CONTINUING STATUS
28   CONFERENCE
                 Case 2:16-cr-00025-TLN Document 119 Filed 05/02/17 Page 2 of 5


 1   recently provided a disc containing additional reports. In addition, Defendant Edwin Arambulo
 2
     had an arraignment hearing for the charges in the Indictment approximately one month ago on
 3
     March 24, 2017.
 4
            All defense counsel are in the continuing process of reviewing the original and
 5

 6   supplemental discovery and conducting their own investigation regarding potential defenses in

 7   the case. Many of the events discussed in the reports and transcripts occurred in the Yuba
 8
     City/Marysville region, approximately 40 miles from Sacramento.
 9
            The parties to this action, Plaintiff United States of America by and through Assistant
10
     United States Attorney Justin Lee, and Attorney Jesse Ortiz on behalf of Defendant Vicente
11

12   Velasquez, Attorney Todd D. Leras on behalf of Defendant Pedro Fuentes, Attorney Greg Foster

13   on behalf of Defendant Luis Alberto Fernandez Contreras, Attorney Clemente Jimenez on behalf
14
     of Defendant Leonel Villa Lopez, Attorney Hayes Gable on behalf of Defendant Roberto Aguilar
15
     Navarro, and Attorney Michael Bigelow on behalf of Defendant Edwin Arambulo, stipulate as
16
     follows:
17

18          1.    By this stipulation, Defendants now move to vacate the status conference presently

19                set for May 4, 2017. The parties request to continue the status conference to July 20,
20
                  2017, at 9:30 a.m., and to exclude time between May 4, 2017 and July 20, 2017 under
21
                  Local Code T-4. The United States does not oppose this request.
22
            2. Due to the volume of discovery in the case, including the recordings and transcripts
23

24                of intercepted telephone conversations under court-authorized wiretaps, and the

25                supplemental discovery recently provided by the United States, defense counsel for
26
                  all defendants are engaged in ongoing review of the discovery and defense
27
     ORDER CONTINUING STATUS
28   CONFERENCE
              Case 2:16-cr-00025-TLN Document 119 Filed 05/02/17 Page 3 of 5


 1              investigation related to potential defenses in this matter. This investigation is
 2
                necessary to ensure that potential defenses are explored and discussed with each
 3
                defendant in the case.
 4
            3. All defense counsel represent and believe that failure to grant additional time as
 5

 6              requested would deny each of them the reasonable time necessary for effective

 7              preparation, taking into account the exercise of due diligence.
 8
            4. Based on the above-stated facts, the parties jointly request that the Court find that the
 9
                ends of justice served by continuing the case as requested outweigh the best interest
10
                of the public and the Defendants in a trial within the time prescribed by the Speedy
11

12              Trial Act.

13          5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
14
                seq., within which trial must commence, the time period of May 4, 2017 to July 20,
15
                2017, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B)
16
                (iv) [Local Code T-4] because it results from a continuance granted by the Court at
17

18              Defendants’ request on the basis that the ends of justice served by taking such action

19              outweigh the best interest of the public and the Defendants in a speedy trial.
20
            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
21
                the Speedy Trial Act dictate that additional time periods are excludable from the
22
                period within which a trial must commence.
23

24          Assistant U.S. Attorney Justin Lee and all defense counsel have reviewed this proposed

25   order and authorized Todd Leras to sign it on their behalf.
26

27
     ORDER CONTINUING STATUS
28   CONFERENCE
            Case 2:16-cr-00025-TLN Document 119 Filed 05/02/17 Page 4 of 5


 1   DATED: May 1, 2017
                                             By    Todd D. Leras for
 2
                                                   JUSTIN LEE
 3                                                 Assistant United States Attorney

 4   DATED: May 1, 2017
                                             By    /s/ Todd D. Leras for
 5
                                                   JESSE ORTIZ
 6                                                 Attorney for Defendant
                                                   VICENTE VELAZQUEZ
 7
     DATED: May 1, 2017
 8
                                             By    /s/ Todd D. Leras
 9                                                 TODD D. LERAS
                                                   Attorney for Defendant
10                                                 PEDRO FUENTES
11
     DATED: May 1, 2017
12                                           By    Todd D. Leras for
                                                   GREG FOSTER
13                                                 Attorney for Defendant
                                                   LUIS ALBERTO FERNANDEZ
14
                                                   CONTRERAS
15   DATED: May 1, 2017
                                             By    Todd D. Leras for
16                                                 CLEMENTE JIMENEZ
                                                   Attorney for Defendant
17
                                                   LEONEL VILLA LOPEZ
18   DATED: May 1, 2017
                                             By    Todd D. Leras for
19                                                 HAYES GABLE
                                                   Attorney for Defendant
20
                                                   ROBERTO AGUILAR NAVARRO
21
     DATED: May 1, 2017                      By    Todd D. Leras for
22                                                 MICHAEL BIGELOW
                                                   Attorney for Defendant
23
                                                   EDWIN ARAMBULO
24

25

26

27
     ORDER CONTINUING STATUS
28   CONFERENCE
              Case 2:16-cr-00025-TLN Document 119 Filed 05/02/17 Page 5 of 5


 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for May 4, 2017, is vacated.
 4
     A new status conference is scheduled for July 20, 2017, at 9:30 a.m. The Court further finds,
 5

 6   based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from May 4, 2017, up to and including
11

12   July 20, 2017.

13   DATED: May 2, 2017
14

15                                                           Troy L. Nunley
                                                             United States District Judge
16

17

18

19

20

21

22

23

24

25

26

27
     ORDER CONTINUING STATUS
28   CONFERENCE
